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                IN THE UNITED STATES DISTRICT COURT FOR
                    THE EASTERN DISTRICT OF VIRGINIA
                          Alexandria, Virginia



IPXL HOLDINGS, L.L.C.,             )
                                   )
                                   )
              Plaintiff,           )
                                   )
                                   )
         v.                        )
                                   )          No. 1:04cv70
                                   )
AMAZON.COM, INC.,                  )
                                   )
                                   )
              Defendant.           )


                           MEMORANDUM OPINION

         After the parties’ oral argument, the Court granted

defendant’s Motion For Attorneys’ Fees and Costs under 35

U.S.C. § 285, having found this to be an “exceptional case” as

defined in the statute.      The Court ordered the parties to

attempt to settle the amount of attorneys’ fees and costs, but

the parties were unable to reach an agreement.          Defendant has

filed a Memorandum To Establish The Amount Of Defendant
Amazon.com, Inc.’s Attorneys’ Fees And Expenses To Be Awarded

Under 35 U.S.C. § 285, to which it attached documentation to

support its request.1      IPXL filed an Opposition to Amazon’s

Memorandum, to which Amazon has filed a Reply.

         In its Memorandum, Amazon seeks $1,702,625.62 for legal

services and $327,610.28 for expenses billed by Kirkland &

Ellis LLP and approximately $58,500.00 for legal services and


     1
      This documentation consisted primarily of detailed hourly
billing and expense statements.
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$4,571.37 for expenses billed by Greenberg Traurig LLP.2           Amazon

asserts that these figures reflect a 10% reduction from the

actual total billed to account for any charges that represent

duplication of effort.      IPXL argues that the totals for fees

and expenses should both be reduced by at least 50% to account

for pervasive overstaffing and the inclusion of unnecessary

and/or luxury expenses for which Amazon should not be

reimbursed.      In assessing the reasonableness of Amazon’s

request, the Court has adopted the parties’ methodology of
using a percentage reduction and as set forth below, will award

Amazon 80% of the fees and costs documented in its Memorandum.

I.       Attorneys’ Fees

         Once the Court determines that an award of attorneys’ fees

is appropriate, it must arrive at a “lodestar” figure by

multiplying the number of hours reasonably expended by a

reasonable hourly rate.      See, e.g., Brodziak v. Runyon, 145

F.3d 194, 196 (4th Cir. 1998).       The determination of a

reasonable expenditure of time and hourly rate depends in large
part on an analysis of what similarly experienced attorneys

charge in comparable circumstances.3        See Rum Creek Coal Sales,


     2
      Amazon submitted an approximation because some bills were
still being finalized at the time Amazon filed its Memorandum.
      Amazon also asked to be allowed to supplement its
Memorandum to reflect charges billed after the Memorandum was
filed. However, the Court has received no such supplemental
documentation.
     3
      As the Fourth Circuit explained in Daly v. Hill, a properly
calculated lodestar will reflect consideration of the factors for
assessing the overall reasonableness of a request for attorneys’

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Inc. v. Caperton, 31 F.3d 169, 175 (4th Cir. 1994).           Although

numerous Kirkland & Ellis attorneys assisted with Amazon’s

defense, the majority of the work was conducted by one partner,

whose hourly rate was $382, and six associates, whose hourly

rates ranged from $140 to $335.         One other partner, who billed

fewer hours on the case, charged an hourly rate of $423.

Greenburg Traurig staffed the case with only two attorneys, who

billed at rates of $370 and $295.        Amazon has submitted data

from the American Intellectual Property Law Association’s 2003
Report of the Economic Survey (“AIPLA Survey”) to demonstrate

that the average of the rates charged by the attorneys who

billed the most hours on the case, roughly $273 by the Court’s


fees. See 790 F.2d 1071, 1075, 1077-78 (4th Cir. 1986); see also
Barber v. Kimbrell’s, Inc., 577 F.2d 216, 226-28 (4th Cir. 1978)
(adopting factors first articulated in Johnson v. Georgia Hwy.
Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974)). Those
factors are:
(1) the time and labor expended;
(2) the novelty and difficulty of the question(s) raised;
(3) the skill required to perform properly the legal services
rendered;
(4) the attorneys’ opportunity cost in pressing the litigation;
(5) the customary fee for like work;
(6) the attorneys’ expectation at the outset of the litigation;
(7) any time limitations imposed by the client or the
circumstances of the case;
(8) the amount in controversy and the results obtained;
(9) the experience, reputation and ability of the attorneys;
(10) the undesirability of the case within the legal profession;
(11) the nature and length of the professional relationship
between the attorney and the client; and
(12) attorneys’ fees awards in similar cases.
     The Court finds that these considerations are adequately
reflected in the lodestar through the attorneys’ hourly rates and
the Court’s acceptance of Amazon’s relatively high staffing
level, which is consistent with high-stakes patent litigation
facing equally well-equipped opposing counsel. Thus, any further
adjustment to the lodestar is not only unnecessary but would
constitute double-counting. See Daly, 790 F.2d at 1077.

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calculation,4 is below the median rate charged for like work in

the Washington D.C. area.5      The Court finds that the hourly

rates charged by Amazon’s attorneys are reasonable for high-

stakes patent litigation in the Washington D.C. area.

         Although the Court finds reasonable the hourly rate used

by Amazon, in determining the lodestar figure, the Court must

also assess the reasonableness of the staffing of the case.            In

this regard, IPXL argues that Amazon’s request should be

reduced by 50%, not 10%, because Amazon’s documentation is rife
with evidence of duplicated efforts and overstaffing.           For

example, IPXL cites in its Opposition numerous instances in

which two attorneys billed for attendance at depositions.             IPXL

also points to records demonstrating that three attorneys

billed for attending the final pretrial conference on June 17,

2004, and seven attorneys billed for attending the summary

judgment hearing on July 16, 2004.        The Court agrees that

Amazon should not be reimbursed in full when multiple attorneys

billed for tasks that could have been accomplished more



     4
      Amazon cites an average hourly rate of $286 for the most
heavily involved attorneys. This figure appears to include the
$423 rate of the partner who billed fewer hours on the case than
a number of other attorneys. For the purpose of assessing the
reasonableness of Kirkland and Ellis’s rates, the difference
between these two figures is negligible.
     5
      Further supporting the reasonableness of the hourly rates
charged by the attorneys in this case in 2004, the AIPLA Survey
is based on 2003 data.
      Amazon also cites the AIPLA Survey to show that its overall
request of $2,093,307.27 in fees and expenses falls below the
median cost for similar litigation.

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efficiently.6     The Court also will not reimburse Amazon for

conferences among attorneys that are not described in

sufficient detail for the Court to determine the conferences’

content or necessity.

         After reviewing Amazon’s documentation with these

parameters in mind, the Court finds that the duplication of

efforts warrants a 20% reduction from Amazon’s combined request

of $1,761,125.62 in attorneys’ fees, which is thereby reduced

to $1,408,900.50.      The Court rejects IPXL’s argument that
defendant’s attorneys’ fee award should be further reduced to

reflect motions on which Amazon was not successful.           Overall,

Amazon obtained “excellent results” by prevailing at the

summary judgment stage on its claim that it did not infringe

plaintiff’s patent and that the patent was invalid.           The hours

and expenses documented in Amazon’s Memorandum were expended

towards that end.7     See Hensley v. Eckerhart, 461 U.S. 424, 435

(1983); Phyler v. Evatt, 902 F.2d 273, 280 (4th Cir. 1990).




     6
       The Court warned Amazon during the hearing on its
application for attorneys’ fees that fees would not be awarded
for overstaffing.
     7
      Furthermore, the unsuccessful Motions for which IPXL argues
Amazon should not recover were non-dispositive and did not affect
the overall nature of Amazon’s relief. For example, those
Motions included Amazon’s Motion For Transfer Of Venue, Motion To
Compel Compliance With Document Request No. 60, and Motion For
Leave To File Two Summary Judgment Briefs, as well as IPXL’s
Motion To Compel Amazon To Produce A Witness For IPXL’s Topic No.
16 and Motion To Compel Regarding Depositions And Financial
Information.

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II.       Expenses

          Section 285 provides the Court with discretion to award

reasonable non-taxable expenses in addition to attorneys’ fees.

See Mathis v. Spears, 857 F.2d 749, 754 (Fed. Cir. 1988).

Amazon has submitted expense records from both Kirkland & Ellis

and Greenberg Traurig in support of its combined request for

$332,181.65.         The categories of expenses for which Amazon

requests reimbursement include telephone and fax charges,

standard and color copies, CD-ROM duplication, animation,
delivery services, local transportation and out-of-town travel

costs, working and overtime meals, professional fees, outside

computer services and computer research.         IPXL objects to the

request on the ground that it includes unrecoverable expenses,

such as meals and limousine services.         IPXL also argues that

Amazon should not be reimbursed for expenses related to the same

duplication of effort that is reflected in the documentation of

attorneys’ fees.         The Court finds that an award of reasonable

expenses is warranted in this case.         However, the Court will not
include in that award the costs of excessive copies, overly

technical demonstrative exhibits, travel from home to work,

meals, unreasonably pricey hotels and other unnecessary

expenses.8      See Id. at 754.    Thus, as with the award of


      8
      As noted above with regard to attorneys’ fees, in its
October 12, 2004, Order the Court advised Amazon of the
limitations on reimbursement for excessive deposition, copying
and presentation expenses.



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attorneys’ fees, the Court finds that a 20% reduction in

Amazon’s request for expenses will account for the inclusion of

excessive or unnecessary charges.        Accordingly, the Court will

award Amazon a combined total of $265,745.32 in expenses.

III. Conclusion

      For the reasons stated above, the Court finds that a total

award of $1,674,645.82, consisting of $1,408,900.50 in

attorneys’ fees and $265,745.32 in expenses, plus interest

accruing since the entry of judgment, is warranted under § 285

to compensate Amazon for defending against this exceptional

case.   An appropriate Order shall issue.

           Entered this 28th day of June, 2005.



                                         _______/s/________________
                                         Leonie M. Brinkema
                                         United States District Judge
Alexandria, Virginia




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